  23-10164-smr Doc#338 Filed 10/11/23 Entered 10/11/23 08:13:40 Ntc/Hrg BK int ptys Pg
                                       1 of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                               Bankruptcy Case
                                                                               23−10164−smr
                                                                          No.:
                                                                  Chapter No.: 7
                                                                        Judge: Shad Robinson
IN RE: ASTRALABS Inc , Debtor(s)




                                       NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   Austin Courtroom 1, Homer Thornberry Judicial Bldg., 903 San Jacinto, Austin, TX 78701

     on   11/21/23 at 10:00 AM

     Hearing to Consider and Act Upon the Following: (Related Document(s): 330 Motion to Assume Executory
     Contract (21 Day Objection Language) filed by Thanhan Nguyen for Trustee Randolph N Osherow ) Hearing
     Scheduled For 11/21/2023 at 10:00 AM at Austin Courtroom 1 ... Five calendar days before the hearing,
     exhibits MUST be: (1) mailed to U.S. Bankruptcy Court, Attn: Jennifer Lopez, Homer Thornberry Judicial
     Bldg., 903 San Jacinto, Suite 322, Austin, TX 78701 and (2) emailed to Sarah Wood at
     sarah_wood@txwb.uscourts.gov and Jennifer Lopez at jennifer_lopez@txwb.uscourts.gov....You MUST also
     email Jennifer Lopez and Sarah Wood and request a special setting if your time estimate for both sides
     exceeds 30 minutes. (Lopez, Jennifer)


Dated: 10/11/23
                                                         Barry D. Knight
                                                         Clerk, U. S. Bankruptcy Court




                                                                                         [Hearing Notice (BK)] [NtchrgBKap]
